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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                     NO. 4:08CR00006-002 SWW

JOHNNY NATHANIEL




                           ORDER OF DISMISSAL

      Upon the government’s motion to dismiss the indictment pending

against the above defendant,

      IT IS ORDERED that the motion is granted, and the indictment pending

in this case hereby is dismissed as to defendant Johnny Nathaniel.

      DATED this 18th day of August, 2008.



                                        /s/Susan Webber Wright

                                        UNITED STATES DISTRICT JUDGE
